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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- x
                                         :
UNITED STATES OF AMERICA,
                                         :                         Index No. 19-cr-00374 (DAB)
                                         :
                     Plaintiff,
                                         :                         MOTION FOR ADMISSION
                                         :                         PRO HAC VICE
                v.
                                         :
                                         :
MICHAEL AVENATTI,
                                         :
                     Defendant.          :
                                         :
---------------------------------------- X

         Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Thomas Warren hereby move this Court for an Order for

admission to practice Pro Hac Vice to appear as counsel for Defendant Michael Avenatti in the

above-captioned action.

         I am in good standing of the bars of the state of California and Ohio and there are no

pending disciplinary proceedings against me in any state or federal court. I have never been

convicted of a felony. I have never been censured, suspended, disbarred or denied admission or

readmission by any court. I have attached the affidavit pursuant to Local Rule 1.3.

Dated:     November 22, 2019
                                               /s/ Thomas Warren          .
                                               Thomas Warren
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